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    8     Everi Games Inc.
    9

   10                            UNITED STATES DISTRICT COURT
   11                           CENTRAL DISTRICT OF CALIFORNIA
   12

   13     JOSE VALENZUELA, individually and             Case No.: 2:24-cv-00257-MRA-JPR
          on behalf of all others similarly situated,
   14                                                   Assigned to Hon. Mónica Ramírez
                                     Plaintiffs,        Almadani
   15
          v.                                            DEFENDANT EVERI GAMES INC.’S
   16                                                   NOTICE OF MOTION AND
          EVERI GAMES INC., and DOES 1                  MOTION TO DISMISS AND/OR
   17     through 10, inclusive,                        STRIKE PLAINTIFF’S SECOND
                                                        AMENDED COMPLAINT
   18                                Defendants.        PURSUANT TO FED. R. CIV. P.
                                                        12(b)(6) AND 12(f)
   19
                                                        Hearing Date: May 23, 2024
   20                                                   Hearing time: 1:30 p.m.
                                                        Courtroom: 10B
   21

   22                                                   Date filed: November 17, 2023
                                                        Removal Date: January 10, 2024
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               NOTICE OF MOTION AND MOTION TO DISMISS AND/OR STRIKE PLAINTIFF’S SECOND AMENDED
                              COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
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    1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
    2        PLEASE TAKE NOTICE that on May 23, 2024, at 1:30 p.m., or as soon
    3 thereafter as the matter may be heard in Courtroom No. 10B of the above-entitled Court,
    4 located at 350 W. First Street, Los Angeles, California, 90012, Defendant Everi Games
    5 Inc. (“Everi”) will and hereby does move the Court for an order dismissing Plaintiff
    6 Jose Valenzuela’s (“Plaintiff”) Second Amended Complaint and dismissing and/or
    7 striking Plaintiff’s class claims and allegations, as well as his requests for injunctive
    8 relief pursuant to Rules 12(b)(6) and 12(f) of the Federal Rules of Civil Procedure.
    9        Everi’s motion is based on Plaintiff’s failure to meet the Rule 8 pleading standard
  10 as a matter of law, including by failing to plead “enough facts to state a claim to relief
  11 that is plausible on its face” as to any of Plaintiff’s nine (9) claims for relief. Bell
  12 Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007); see also Landers v. Quality
  13 Commc’ns, Inc., 771 F.3d 638, 646 (9th Cir. 2014). Plaintiff’s claim under the Fair
  14 Labor Standards Act fails as Plaintiff’s underlying Labor Code claims all fail.
  15 Plaintiff’s derivative wage statements, Private Attorney General Act, and unfair
  16 competition claims also fail to state a claim under the federal pleading standard.
  17         Furthermore, Plaintiff’s generic claim for violation of California’s Unfair
  18 Competition Law (California Business & Professions Code § 17200, et seq., “UCL”)
  19 fails as a matter of law because, even if he had managed to plead a predicate violation,
  20 the UCL only provides equitable remedies in private actions such as this one, and
  21 Plaintiff cannot plausibly allege he lacks an adequate legal remedy. See Korea Supply
  22 Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1144 (2003) (UCL actions are
  23 equitable in nature and prevailing plaintiffs are “limited to injunctive relief and
  24 restitution.”).
  25         Additionally, the Court should dismiss and/or strike all of Plaintiff’s class action
  26 allegations and claims because Plaintiff’s class action allegations do not meet the
  27 minimum pleading requirements, early dismissal is warranted to avoid discovery abuse,
  28 Plaintiff’s class action allegations fail to satisfy Rule 23 on their face, and it is evident
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          NOTICE OF MOTION AND MOTION TO DISMISS AND/OR STRIKE PLAINTIFF’S SECOND AMENDED
                         COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
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    1 from the pleading that Plaintiff will not be able to adequately and successfully maintain
    2 a class even if he were given further opportunity to amend. See, e.g., Sanders v. Apple
    3 Inc., 672 F. Supp. 2d 978, 990 (N.D. Cal. 2009) (“Where the complaint demonstrates
    4 that a class action cannot be maintained on the facts alleged, a defendant may move to
    5 strike class allegations prior to discovery.”).
    6         Plaintiff’s requests for injunctive relief are also properly stricken as Plaintiff
    7 seeks remedies at law. See Dukes v. Wal-Mart Stores, Inc., 603 F.3d 571, 623 (9th Cir.
    8 2010) (“[T]hose putative class members who were no longer Wal–Mart employees at
    9 the time Plaintiffs’ complaint was filed do not have standing to pursue injunctive or
  10 declaratory relief.”), rev’d on other grounds, 564 U.S. 338 (2011).
  11          Accordingly, Everi respectfully requests that the Court dismiss Plaintiff’s
  12 Second Amended Complaint with prejudice, without further leave to amend, and that
  13 the Court dismiss and/or strike Plaintiff’s class claims and allegations, as well as
  14 Plaintiff’s request for injunctive relief.
  15          This motion is based on this notice of motion and motion, the attached
  16 memorandum of points and authorities, the request for judicial notice, any other matters
  17 of which this Court may be requested to take judicial notice, and upon such other
  18 matters, whether written or oral, as may be presented to the Court at or prior to any
  19 hearing on this motion.
  20          This motion is made following the conference of counsel pursuant to L.R. 7-3,
  21 which took place by telephone on March 11, 2024.
  22                                              Respectfully submitted,
  23      DATED: March 18, 2024                   GLASER WEIL FINK HOWARD
                                                   JORDAN & SHAPIRO LLP
  24
                                                  By: /s/ Elizabeth A. Sperling
  25                                                  Elizabeth A. Sperling
                                                      Alexander R. Miller
  26                                                  Joseph D. Hadacek
                                                      Attorneys for Defendant
  27                                                  Everi Games Inc.
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           NOTICE OF MOTION AND MOTION TO DISMISS AND/OR STRIKE PLAINTIFF’S SECOND AMENDED
                          COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6) AND 12(f)
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